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                   UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 EMANUEL CERVELLI,
 Plaintiff

                            V.                    SUMMONS IN A CIVIL CASE
 EXACTECH, INC., ET AL.,
 Defendant
                                                  CASE NUMBER: 2:22−CV−02967−KM−JSA


    TO: (Name and address of Defendant):




    A lawsuit has been filed against you.

     Within 21 days after service of this summons on you (not counting the day you received it)
 −− or 60 days if you are the United States or a United States Agency, or an office or employee of
 the United States described in Fed. R. civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff
 an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
 Procedure. The answer or motion must be served on the plaintiff or plaintiff`s attorney, whose
 name and address are:




    If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.




  s/ WILLIAM T. WALSH
  CLERK




                                                              ISSUED ON 2022−05−23 09:58:23, Clerk
                                                                         USDC NJD
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                                                  RETURN OF SERVICE
Service of the Summons and complaint was made by DATE
me(1)
NAME OF SERVER (PRINT)                           TITLE

Check one box below to indicate appropriate method of service



          Served personally upon the defendant. Place where served: _______________________________________
          ________________________________________________________________________
          Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age
          and
          discretion then residing therein.

          Name of person with whom the summons and complaint were left:__________________________________

          Returned unexecuted:_____________________________________________________________________
          _________________________________________________________________________
          ________________________________________________________________________
          Other (specify) :_________________________________________________________________________
          ________________________________________________________________________
          ________________________________________________________________________


                                             STATEMENT OF SERVICE FEES
TRAVEL                               SERVICES                                        TOTAL

                                               DECLARATION OF SERVER

            I declare under penalty of perjury under the laws of the United States of America that the foregoing
         information
         contained in the Return of Service and Statement of Service Fees is true and correct.


        Executed on       ___________________                _______________________________________
                                      Date                   Signature of Server

                                                             _______________________________________
                                                             Address of Server
